The following cases in which the Court of Appeals issued published opinions have been appealed to
the Supreme Court:

    1. KSS One, LLC
       v. Henrico County, Virginia, et al.
       Record No. 0294-22-2
       Opinion rendered by Judge Raphael on
        March 7, 2023

    2. Jaron Devontae Nottingham
        v. Commonwealth of Virginia
        Record No. 1006-21-1
        Opinion rendered by Judge Huff on
         March 21, 2023

    3. William Ezell Taylor, Jr.
       v. Commonwealth of Virginia
       Record No. 0433-22-2
       Opinion rendered by Judge Lorish on
        March 28, 2023

    4. Keefe Butler
       v. Martha Ann Thomas Stegmaier, etc., et al.
       Record No. 0584-22-2
       Opinion rendered by Judge Athey on
        March 28, 2023

    5. Edgar Alexander Diaz-Urrutia
       v. Commonwealth of Virginia
       Record No. 0502-22-4
       Opinion rendered by Judge Humphreys on
        April 4, 2023

    6. Travis Alexander Bland Henderson, s/k/a
        Travis Alexander Bland-Henderson
       v. Commonwealth of Virginia
       Record No. 1359-21-2
       Opinion rendered by Judge Raphael on
        April 11, 2023




    7. United Services Automobile Association
       v. Bruce A Estep
       Record No. 0391-22-1
       En banc opinion rendered by Chief Judge Decker on
        April 11, 2023

    8. Clifton Haley Harper, Jr.
v. Commonwealth of Virginia
Record No. 0453-22-4
Opinion rendered by Judge Humphreys on
 April 11, 2023
The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jacques Lamar Walker
    v. Commonwealth of Virginia
   Record No. 1211-20-4
    Opinion rendered by Judge Russell
      on April 5, 2022
    Judgment of Court of Appeals affirmed by opinion rendered on June 1, 2023
     (220378)

2. Shemon Devonte Clayton
   v. Commonwealth of Virginia
   Record No. 1246-21-3
   Opinion rendered by Judge AtLee
     on September 13, 2022
     Refused (220645)

3. Shemon Devonte Clayton, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1247-21-3
   Opinion rendered by Judge AtLee
     on September 13, 2022
     Refused (220645)

4. Diallo Olumnminji Turner
   v. Commonwealth of Virginia
   Record No. 1103-21-2
   Opinion rendered by Judge Beales
     on September 20, 2022
   Refused (220673)
